






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00358-CV






Marietta Sepaugh, Individually, and as Next Friend of her minor son,

Frank LaGrone, Deceased, Appellant


v.


Paul LaGrone, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. GN402204, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING



						

O P I N I O N (1)


		Marietta Sepaugh, individually and as next friend of her late minor son,
Frank&nbsp;LaGrone (Frank), appeals a take-nothing summary judgment on damages claims she had
asserted against appellee Paul LaGrone (LaGrone), Frank's father and Sepaugh's ex-husband. 
Sepaugh sought damages arising from Frank's death in a Christmas Eve 2002 house fire that also
killed another of LaGrone's minor sons (Frank's half-brother) and a third child, a friend of
the&nbsp;LaGrone children, who was spending the night.  The summary judgment was based solely on
LaGrone's affirmative defense of parental immunity.  Sepaugh argues that the district court erred
in&nbsp;granting summary judgment because parental immunity does not bar her claims.  We will affirm
the judgment.


BACKGROUND

		Frank (2) was the only child of an approximately three-year marriage between Sepaugh
and LaGrone that ended, the record reflects, in a contentious divorce.  Sepaugh was awarded
sole&nbsp;managing conservatorship of Frank, while LaGrone was named possessory conservator
and&nbsp;awarded visitation rights.  In the intervening years, LaGrone remarried and had two more sons,
Cole and Sam. (3)  After this marriage also ended in divorce, LaGrone was named Sam and Cole's
managing conservator.  At the time of the fire, Sam and Cole were living with their father in a two-story, four-bedroom house located in northwest Austin.  Three bedrooms--two of which the
boys&nbsp;occupied--were located upstairs, (4) while a master bedroom, where LaGrone slept, was
located&nbsp;downstairs.  Meanwhile, Frank lived with his mother, Sepaugh, subject to LaGrone's
visitation rights. 

		The fire occurred during the early morning hours of December 24,
2002--Christmas&nbsp;Eve.  Frank, then thirteen years of age, was spending the Christmas holidays
with&nbsp;his father and younger half-brothers during a visitation period provided under LaGrone
and&nbsp;Sepaugh's divorce decree.  A friend of the brothers, John Overby, was also spending the night. 
Frank, Cole, and Overby stayed upstairs, while Sam fell asleep downstairs in LaGrone's room.
LaGrone was awakened by the fire around the 3 o'clock hour.  He and Sam managed to escape the
burning dwelling through a window.  LaGrone instructed Sam to call 911, which he did, while
LaGrone, and later first responders, attempted to rescue the boys upstairs.  They were unsuccessful,
and Frank, Cole, and Overby all perished in the fire.

		Sepaugh, acting individually and as Frank's next friend, sued LaGrone for
damages&nbsp;under the wrongful-death and survivorship statutes.  See Tex. Civ. Prac. &amp; Rem. Code Ann.
§§&nbsp;71.001-.012 (wrongful death), .021-.022 (survivorship) (West 2008).  She also asserted what she
styled as an "independent" "loss of consortium action against Defendant under Texas common law."
Sepaugh pled theories of negligence and negligence per se.  Specifically, she alleged that LaGrone
had a duty under City of Austin ordinances to have smoke detectors that were audible in all sleeping
areas of his home, that he breached this duty, and that such breach was a proximate cause of
Frank's&nbsp;death.

		LaGrone filed an answer raising parental immunity as an affirmative defense.  He
subsequently filed a "traditional" summary-judgment motion in which he sought to establish each
element of his parental-immunity defense as a matter of law.  The district court granted LaGrone's
motion and rendered judgment that Sepaugh take nothing on her claims.  This appeal followed.


ANALYSIS

		In a single issue, Sepaugh contends that the district court erred in granting
summary&nbsp;judgment based on LaGrone's parental-immunity defense.  She asserts four arguments as
to why, she contends, parental immunity does not bar her claims.  Her first and principal argument
is that parental immunity, as a matter of law, does not bar her claims because they are predicated on
LaGrone's breach of a duty imposed by city ordinance rather than the sort of discretionary parenting
decision that parental immunity protects.  In the alternative, Sepaugh urges that we apply two
limitations on parental immunity that certain other states have recognized but Texas, to date, has not:
(1) parental immunity does not protect LaGrone because he was not awarded "primary custody" of
Frank; and (2) parental immunity does not apply because LaGrone had homeowner's liability
insurance coverage.  Finally, in the further alternative, Sepaugh argues that even if parental immunity
barred Frank's right to recover from LaGrone (and, thus, barred her derivative right to recover under
the wrongful-death and survivorship statutes), the defense does not bar her own "independent"
"common law" parental-consortium claim.


Standard of review

		We review the district court's summary-judgment ruling de novo.  Valence Operating
Co. v. Dorsett, 164 S.W.3d 656, 661 (Tex. 2005).  A party moving for summary judgment must
demonstrate that there is no genuine issue of material fact and that he is entitled to judgment as
a&nbsp;matter of law.  Tex. R. Civ. P. 166a(c); Nixon v. Mr. Prop. Mgmt. Co., 690 S.W.2d 546, 548
(Tex.&nbsp;1985).  Where, as here, a defendant moves for summary judgment under the "traditional"
standard, he must meet the initial burden of either conclusively negating at least one essential
element of each of the plaintiff's causes of action or conclusively establishing each element of an
affirmative defense.  Science Spectrum, Inc. v. Martinez, 941 S.W.2d 910, 911 (Tex. 1997).  If the
defendant meets this initial burden, he is entitled to summary judgment unless the non-movant
plaintiff presents summary-judgment evidence raising a genuine issue of material fact as to
one&nbsp;of&nbsp;the elements at issue.  M.D. Anderson Hosp. &amp; Tumor Inst. v. Willrich, 28 S.W.3d 22, 23
(Tex.&nbsp;2000) (per curiam).  When reviewing a summary judgment, we take as true all evidence
favorable to the non-movant, and indulge every reasonable inference and resolve all doubts in her
favor.  Id.; Nixon, 690 S.W.2d at 549.


Parental immunity	

		As recognized in Texas today, the affirmative defense of parental immunity operates
to shield parents from tort liability to their unemancipated minor children for alleged acts of
negligence that "involve a reasonable exercise of parental authority" (e.g., disciplining or supervising
a child) or the exercise of "ordinary parental discretion with respect to the care and necessities of the
child" that a parent is obligated to furnish.  See Jilani v. Jilani, 767 S.W.2d 671, 672-73 (Tex. 1988);
Felderhoff v. Felderhoff, 473 S.W.2d 928, 933 (Tex. 1971).  The defense likewise bars such claims
against a parent that are derivative of a deceased child's right to recover in negligence against the
parent, including wrongful-death or survivorship claims.  See McCullough v. Godwin, 214 S.W.3d
793, 799-803 (Tex. App.--Tyler 2007, no pet.); Hoffmeyer v. Hoffmeyer, 869 S.W.2d 667, 668-69
(Tex. App.--Eastland 1994, writ denied); see also Shoemake v. Fogel, Ltd., 826 S.W.2d 933, 935
(Tex. 1992) (contribution claim). 

		The purpose and effect of the parental-immunity defense is to remove, as a matter of 
policy or prudence, certain parenting decisions from the judicially created regulatory regime that is
the negligence tort. (5)  Although historically rooted in judicial reluctance to encourage adversarial
litigation that could undermine peace and order within families, the modern justification for parental
immunity in Texas is stated in terms of preventing the disruption or distortion of parental decision-making within the "wide sphere of reasonable discretion which is necessary . . . to provide nurture,
care, and discipline for their children" that would otherwise result from the imposition of the
negligence "reasonably prudent person" standard of conduct and its attendant economic incentives
and disincentives.  See Shoemake, 826 S.W.2d at 935 (quoting Felderhoff, 473 S.W.2d at 933).  As
the Texas Supreme Court explained in Felderhoff, in rejecting calls to discard parental immunity as
"out of date":


We trust that it is not out of date for the state and its courts to be concerned with the
welfare of the family as the most vital unit in our society.  We recognize that peace,
tranquility and discipline in the home are endowed and inspired by higher authority
than statutory enactments and court decisions.  Harmonious family relationships
depend on filial and parental love and respect which can neither be created nor
preserved by legislatures or courts.  The most we can do is to prevent the judicial
system from being used to disrupt the wide sphere of reasonable discretion which is
necessary in order for parents to properly exercise their responsibility to provide
nurture, care, and discipline for their children.  These parental duties, which usually
include the provision of a home, food, schooling, family chores, medical care, and
recreation, could be seriously impaired and retarded if parents were to be held liable
to lawsuits by their unemancipated minor children for unintentional errors or ordinary
negligence occurring while in the discharge of such parental duties and
responsibilities.  It is in this sphere of family relations between parent and child that
the rule of immunity from litigation continues to find justification and validity.



473 S.W.2d at 933.  Relatedly, the parental-immunity defense also reflects a goal of avoiding judicial 
entanglement with or second-guessing of the myriad religious, cultural, and other personal
considerations that come to bear on one's judgments when exercising parental responsibilities. 
Shoemake, 826 S.W.2d at 936 ("The discharge of parental responsibilities, such as the provision of
a home, food and schooling, entails countless matters of personal, private choice.  In the absence of
culpability beyond ordinary negligence, those choices are not subject to review in court."); see also
Jilani, 767 S.W.2d at 673 (referencing judicial reluctance to "substitut[e] judicial discretion for
parental discretion in the care and rearing of minor children"). 

		The elements of the parental-immunity affirmative defense are:  (1) the injured party
is an unemancipated minor; (2) the defendant is the minor's parent; (3) the minor's alleged injury
is a personal injury; (4) the claim is based on the defendant's alleged negligence; and (5) the
minor's&nbsp;alleged injury arises from the defendant's "reasonable exercise of parental authority," such
as disciplining or supervising a child, or the parent's exercise of "ordinary parental discretion
with&nbsp;respect to provisions for the care and necessities of the child" that the parent was required
to&nbsp;provide.  See Shoemake, 826 S.W.2d at 935-36; Jilani, 767 S.W.2d at 672-73; Felderhoff,
473&nbsp;S.W.2d at 933.  Thus, parental immunity does not bar claims predicated on legal duties other
than negligence duties, such as contract or property rights.  See Jilani, 767 S.W.2d at 672.  Similarly,
it does not limit the State's enforcement of statutory protections of children, such as those provided
under the penal code or&nbsp;family code, or bar suits for intentional torts committed by a parent against
his child.  See id.; see&nbsp;also McCullough, 214 S.W.3d at 801 (parental immunity does not apply to
a "willful, malicious, or intentional wrong" committed by a parent against a child).  Additionally,
the Texas Supreme Court has recognized two "exceptions" to parental immunity permitting child-parent negligence claims for acts and omissions arising from activities it has distinguished from the
"essentially parental" acts and decisions that parental immunity is intended to protect:  (1) acts
"outside a normal family relationship," such as an employer-employee relationship between the
parent and child, see Felderhoff, 473 S.W.2d at 933; Hall v. Martin, 851 S.W.2d 905, 909 (Tex.
App.--Beaumont 1993, writ denied); and (2) the parent's operation of a motor vehicle, see Jilani,
767 S.W.2d at 673; see also McCullough, 214 S.W.3d at 801 (stating that parental immunity does
not apply when a parent "abandons or abdicates his parental responsibility"). 

		However, it is established that parental immunity does protect a parent's performance
of "essentially parental activities," including, for example, matters of (1) supervision, (2) discipline,
(3) provision of a home, (4) provision of food, (5) schooling, (6) medical care, (7) recreation, and
(8) family chores.  See Felderhoff, 473 S.W.2d at 933; see also, e.g., Shoemake, 826 S.W.2d at 936
(parental immunity barred claim for negligent supervision of child who drowned); McCullough,
214&nbsp;S.W.3d at 802 (same); Hoffmeyer, 869 S.W.2d at 668 (parental immunity barred claim that
parent was negligent in supervising child when parent left loaded gun in room); Gem Homes, Inc.
v. Contreras, 861 S.W.2d 449, 459 (Tex. App.--El Paso 1993, writ denied) (parental immunity
barred negligence claims arising from mother's decisions to live with her children in unsecured
mobile home "during thunderstorm season" and to remain there with the children when storm
threatened); Hall, 851 S.W.2d at 909-10 (parental immunity barred claim that parent was negligent
in entrusting motor scooter to child without instructions or helmet).

		In support of his summary-judgment motion, LaGrone presented evidence that: 
(1)&nbsp;Frank was an unemancipated minor when he died; (2) LaGrone was Frank's father; (3) Frank
died from personal injuries he received in the fire; (4) Sepaugh's claims are based on the allegation
that LaGrone's negligence caused Frank's injuries and death; and (5) at the time of the fire, Frank
was staying with LaGrone pursuant to the visitation schedule set forth in LaGrone's divorce decree
with Sepaugh, during which time the decree required LaGrone to comply with the "duty of care,
control, protection, and reasonable discipline" and "duty to provide [Frank] with clothing, food,
and&nbsp;shelter."  LaGrone argued that this evidence established each element of his parental-immunity
defense as a matter of law.  See Shoemake, 826 S.W.2d at 935; Jilani, 767 S.W.2d at 672-73;
Felderhoff, 473 S.W.2d at 933.  Regarding the fifth and last element--whether Frank's death arose
from LaGrone's "reasonable exercise of parental authority" or "ordinary parental discretion with
respect to the care and necessities of the child"--LaGrone contended that his evidence established 
that Frank's death arose from LaGrone's exercise of parental discretion in providing the child a home
and shelter, as he was legally obligated to do during the visitation period. 

		In response, Sepaugh did not controvert the facts presented by LaGrone or dispute
that LaGrone met his summary-judgment burden as to the first four elements of his parental-immunity defense--i.e., that Frank was a minor, LaGrone was Frank's parent, Frank died from
personal injuries, and Sepaugh's claims were based on LaGrone's alleged negligence.  However, she
joined issue as to the final element, disputing whether, as a matter of law, Frank's death should be
considered to have arisen from LaGrone's exercise of parental discretion in providing Frank a home
during the visitation period.  Whatever discretion LaGrone possessed in regard to providing Frank
a home, Sepaugh urged, was limited by City of Austin ordinances governing smoke detectors in
residences.  Specifically, Sepaugh referenced provisions of the 1997 Uniform Fire Code that the
City&nbsp;had adopted in April 2000 and which were in effect at the time of the fire.  See Austin, Tex.,
Ordinance No. 000406-78 (April 6, 2000); Austin, Tex., City Code art. 7, §§ 25-12-171, 25-12-172
(2000); Uniform Fire Code Appendix 1-A (1997).  The 1997 Uniform Fire Code provides that
existing "dwelling units . . . shall be provided with smoke detectors."  Id. at Appendix 1-A § 6.1
(1997). (6)  It further requires that "[d]etectors shall sound an alarm audible in all sleeping areas of the
dwelling unit where they are located."  Id. at Appendix 1-A § 6.3 (1997). (7)  Sepaugh maintained that
LaGrone had no discretion, parental or otherwise, to fail to provide or maintain smoke detectors
complying with these ordinances.  Consequently, she reasoned, her negligence claims, which were
predicated on LaGrone's violation of the ordinances, did not arise from LaGrone's exercise of
parental discretion.

		Sepaugh brings these contentions forward on appeal, urging that, "[a]s a matter of
law, because Sepaugh alleges that LaGrone failed to maintain a smoke detector as required by
ordinance [and] had no discretion with regard to maintaining smoke detectors that sound an audible
alarm, the doctrine of parental immunity does not bar Sepaugh's actions against LaGrone."  In her
briefing, Sepaugh frequently phrases her argument in terms of the fact that she is alleging LaGrone
was negligent per se in violating the ordinances.  To the extent that Sepaugh is suggesting that an
allegation of negligence per se in itself precludes the application of parental immunity, we reject that
notion.  Negligence per se merely refers to the judicial adoption of a legislatively defined standard
of conduct as defining the reasonably prudent person's standard of care.  See Moughon v. Wolf,
576&nbsp;S.W.2d 603, 604 (Tex. 1978).  Consequently, even assuming that negligence per se applies here
such that the ordinances supply LaGrone's standard of care for purposes of negligence liability, see
Perry v. S.N., 973 S.W.2d 301, 304-09 (Tex. 1998) (discussing standards governing applicability of
negligence per se), parental immunity, if otherwise applicable, would still bar Sepaugh's negligence
claims.  See Hall, 851 S.W.2d at 908-10 (applying parental immunity to bar both "pure" negligence
and negligence per se claims).  What matters instead is whether, as Sepaugh suggests, the Austin
smoke-alarm ordinances have the legal effect of reducing the scope of LaGrone's "discretion" in a
manner relevant to his parental-immunity defense.  We disagree that the ordinances have this effect
for two related reasons.

		First, regardless of how Sepaugh couches her allegations, it remains that she
complains about where and how LaGrone provided a home and shelter for Frank during the child's
Christmastime visitation.  LaGrone's decision to allow Frank to stay in his house is the sort of
"essentially parental" judgment that parental immunity protects.  See Shoemake, 826 S.W.2d at 936
("The discharge of parental responsibilities, such as the provision of a home, . . . entails countless
matters of personal, private choice.  In the absence of culpability beyond ordinary negligence, those
choices are not subject to review in court.") (emphasis added); Felderhoff, 473 S.W.2d at 933
("These parental duties, which usually include the provision of a home, . . . could be seriously
impaired and retarded if parents were to be held liable to lawsuits by their unemancipated minor
children for unintentional errors or ordinary negligence occurring while in the discharge of such
parental duties and responsibilities.") (emphasis added).  This is so regardless of the existence of any
code violations in his house that LaGrone allegedly knew or should have known about.  LaGrone's
decision that Frank would stay in the house is akin to a parent's opting to stay with his child in a
hotel, to take the child camping in the woods, or to allow the child to spend the night at a friend's
house--any of which have the potential to expose the child to premises defects or other hazards at
that location.  Parental immunity, at its core, is intended to prevent judicial second-guessing, through
the negligence regulatory regime, of a parent's judgment in assessing such risks and balancing them
with the myriad other "personal, private" considerations that inform parenting decisions.  Shoemake,
826 S.W.2d at 936; see Gem Homes, Inc., 861 S.W.2d at 459 (mother's decisions to continue living
"with her family in the unanchored [mobile] home during thunderstorm season, and remaining with
her children in that home on one particular afternoon when she knew a storm threatened" were
"personal parental choices" that "fall within the ambit of parental care and supervision"); see also
Hoffmeyer, 869 S.W.2d at 668 (parental immunity barred claim that parent was negligent in
supervising child when parent left loaded gun in room).

		Second, we conclude that Texas precedent does not support Sepaugh's argument
concerning the implications of the Austin smoke-detector ordinances for LaGrone's parental
immunity.  In asserting that the ordinances limit LaGrone's "discretion" in a manner relevant to the
parental-immunity defense, Sepaugh relies primarily on language in Jilani.  767 S.W.2d at 672-73. 
In Jilani, a mother filed a personal-injury suit on behalf of her three unemancipated minor children
seeking damages arising from an automobile accident allegedly caused by their father's (the driver's)
negligence.  The father obtained summary judgment based on parental immunity, which the court
of appeals affirmed.  The supreme court reversed.  It reasoned that the mother's claims implicated
not the "reasonable exercise of parental authority or the exercise of ordinary parental discretion"
protected by parental immunity, but the "general obligation the law imposes upon every driver of
an&nbsp;automobile . . . an activity not essentially parental."  Id. at 673.  This was so, the court further
held, even though the family had been traveling on vacation and Felderhoff had suggested that
"recreation" was one of the several parental duties that ordinarily should be beyond the judicial
sphere.  Id.; see Felderhoff, 473 S.W.2d at 933.  "Regardless of the purpose of the automobile
excursion," according to the Jilani court, "this case does not involve the 'reasonable exercise
of&nbsp;parental authority or the exercise of parental discretion' as envisioned in Felderhoff."  Jilani,
767&nbsp;S.W.2d at 673.

		Sepaugh views Jilani as standing for a general principle that the scope of parental
discretion and immunity is limited by "general" statutory or regulatory obligations with which a
parent, like other persons, must comply.  Consequently, she reasons, LaGrone's parental discretion
is limited by Austin city ordinances governing smoke alarms in residences.  We disagree that Jilani
extends so broadly.  The Jilani court, while perceiving that child-parent automobile negligence
claims would not "threaten 'parental authority or discipline' nor . . . risk substituting judicial
discretion for parental discretion in the care and rearing of minor children," id., took pains to
emphasize that "[o]ur holding today is limited to the facts before us:  an automobile tort action
brought by an unemancipated minor child against a parent."  Id.

		To date, neither the Texas Supreme Court nor lower Texas courts have extended
Jilani's rationale beyond the narrow facts to which it was addressed, much less applied it as
expansively as Sepaugh proposes.  Sepaugh's argument that LaGrone's parental discretion and
immunity is limited by the Austin smoke-detector ordinances would seemingly imply that every
other conceivable local or municipal regulatory prohibition or requirement--building codes,
environmental regulations, watering restrictions, etc.--would have the same effect. (8)  Stated another
way, it would imply that the Texas Supreme Court in Jilani effectively ceded control of future
development of common-law negligence principles and their application to parenting decisions to
whatever  governmental bodies might enact some form of "mandatory" restrictions or regulations. 
We find no support for that notion in Jilani or other Texas precedents addressing parental immunity.
It is also inconsistent with the supreme court's view of legislative conduct standards as a basis for
negligence liability that is reflected in its application of negligence per se.  In that context, the court
has not categorically adopted or deferred to legislative conduct standards, but engaged in a careful,
multi-factor analysis of whether the common law should incorporate those standards as a basis for
negligence liability.  See Perry, 973 S.W.2d at 304-09 &amp; n.4.

		Nor do we believe that Jilani's rationale, or the similar reasoning employed
in&nbsp;Felderhoff regarding parent-child employment relationships, would extend to Sepaugh's
complaint regarding the smoke alarms in LaGrone's house.  Sepaugh's complaint implicates
LaGrone's judgment and actions in regard to the quality or safety of the home he provided Frank. 
It thus squarely attacks essentially parental actions and judgments in providing Frank a home, a
core&nbsp;concern of the parental-immunity defense.  See Shoemake, 826 S.W.2d at 936; Felderhoff,
473&nbsp;S.W.2d at 933; Gem Homes, Inc., 861 S.W.2d at 459.  A complaint that a parent is a bad driver
or bad employer, by contrast, has a more attenuated relationship to parental immunity's underlying
judicial policies.  See Shoemake, 826 S.W.2d at 936; Felderhoff, 473 S.W.2d at 933.

		Through her argument concerning the Austin smoke-detector ordinances, Sepaugh
ultimately advocates a significant expansion of negligence liability for parenting decisions in Texas. 
We are not at liberty to change Texas law in this manner.  See Petco Animal Supplies, Inc.
v.&nbsp;Schuster, 144 S.W.3d 554, 565 (Tex. App.--Austin 2004, no pet.) ("As an intermediate appellate
court, we are not free to mold Texas law as we see fit but must instead follow the precedents of
the&nbsp;Texas Supreme Court unless and until the high court overrules them or the Texas Legislature
supersedes them by statute."). 

		We must similarly reject Sepaugh's remaining arguments challenging the
district&nbsp;court's summary judgment.  Citing cases from Missouri, Florida, and Arizona, Sepaugh
argues that parental immunity is inapplicable because she was awarded primary custody in the
divorce and because LaGrone had homeowner's liability insurance coverage.  See Fugate v. Fugate,
582 S.W.2d 663, 668-69 (Mo. 1979) (primary custody); Ard v. Ard, 414 So.2d 1066, 1068
(Fla.&nbsp;1982) (homeowner's insurance); Streenz v. Streenz, 471 P.2d 282, 284 (Ariz. 1970)
(homeowner's insurance).  These cases do not reflect the law in Texas.  See Hall, 851 S.W.2d at 910
(rejecting the insurance argument because "[l]iability insurance cannot vitiate the parental immunity
doctrine"); see also Petco, Inc., 144 S.W.3d at 565.

		As for Sepaugh's final argument that parental immunity does not bar her
"independent" "common law" parental-consortium claim because it is based solely on her own
injuries and is not derivative of Frank's claims, the Texas Supreme Court has held that there is
no&nbsp;common-law cause of action for damages arising from a tort victim's death.  See, e.g., Moreno
v. Sterling Drug, Inc., 787 S.W.2d 348, 356 &amp; n.7 (Tex. 1990); see also Kramer v. Lewisville Mem'l
Hosp., 858 S.W.2d 397, 403 &amp; n.5 (Tex. 1993).  Instead, Sepaugh can recover her loss-of-consortium damages solely under the wrongful-death statute.  Moreno, 787 S.W.2d at 356.  Under
the wrongful-death statute, Sepaugh's right to recover depends on whether Frank would have been
entitled to bring an action against LaGrone if Frank had lived.  See Tex. Civ. Prac. &amp; Rem. Code
Ann. § 71.003(a).  Consequently, because Frank's right to recover against LaGrone is barred by
parental immunity, Sepaugh's parental-consortium claim is barred as well.  Hoffmeyer, 869 S.W.2d
at 68-69.

		We conclude that the district court did not err in granting summary judgment to
LaGrone on his parental-immunity defense.  We overrule Sepaugh's issue.



CONCLUSION

		Having overruled Sepaugh's issue, we affirm the district court's judgment.



						____________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop;

     Dissenting Opinion by Chief Justice Jones


Affirmed


Filed:   August 28, 2009
1.   This cause was reassigned to this panel on March 25, 2009. 
2.   Because they share the surname LaGrone, we refer to Frank and his siblings by their first
names to distinguish them from their father.  We refer to the parties by their surnames. 
3.   Sepaugh apparently also remarried and had at least one other child. 
4.   A nanny, who was not present on the evening of the fire, used the third upstairs bedroom. 
5.   See, e.g., Humble Sand &amp; Gravel, Inc. v. Gomez, 146 S.W.3d 170, 182 (Tex. 2004)
(illustrating how courts, through the common-law negligence tort, regulate conduct through the
imposition of&nbsp;liability tied to duty concepts whose existence derives from "social, economic, and
political" considerations that entail balancing "the risk, foreseeability, and likelihood of injury
against the social utility of the actor's conduct, the magnitude of the burden of guarding against the
injury, .&nbsp;.&nbsp;.&nbsp;the consequences of placing the burden on the defendant. . . . [and] whether one party
would generally have superior knowledge of the risk or a right to control the actor who caused the
harm") (quoting Praesel v. Johnson, 967 S.W.2d 391, 397-98 (Tex. 1998)); see also Prosser and
Keeton on&nbsp;the Law of Torts (W. Page Keeton, et. al., 5th ed. 1984) § 32, at 173 ("It . . . is
fundamental that&nbsp;the&nbsp;standard of conduct which is the basis of the law of negligence is usually
determined upon a risk-benefit form of analysis:  by balancing the risk, in the light of the social value
of the interest threatened, and the probability and extent of the harm, against the value of the interest
which the actor is seeking to protect, and the expedience of the course pursued.").
6.   The 1997 Uniform Fire Code defines "dwelling unit" as "any building or portion thereof
which contains living facilities, including provisions for sleeping, eating, cooking and sanitation as
required by the Building Code, for not more than one family, or a congregate residence of 10 or less
persons."  Uniform Fire Code art. 2, § 205 (1997).
7.   Sepaugh also presented evidence in an attempt to raise fact issues as to whether LaGrone
had complied with the ordinances; specifically, whether two battery-powered smoke detectors
located in LaGrone's house--one upstairs, one downstairs--had sounded audibly on the night of the
fire, or had not sounded at all, perhaps due to LaGrone's failure to change the batteries. 
8.   E.g., a personal-injury negligence claim arising from a child's slip-and-fall on a sidewalk
made wet by a parent's sprinkler system seemingly could be pled to circumvent parental immunity
if couched in terms of the parent's violation of city watering restrictions.


